Case 1:19-cr-00131-WES-PAS Document1 Filed 10/30/19 Page 1 of 2 PagelD #: 1

UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

1

 

  

THE UNITED STATES OF AMERICA

 

 

VS. : In violation of: 18 U.S.C. §
§§ 922(g)(1), 922(0), & 924(a)(2).
DAVID POOLE

 

INFORMATION

The United States Attorney charges that:

COUNT I
(Being a felon in possession of a firearm)

On or about May 9, 2019, in the District of Rhode Island, Defendant DAVID
POOLE, knowing he was previously convicted of a crime punishable by a term of
imprisonment exceeding one year, did knowingly and intentionally possess firearms -
a Smith & Wesson 5.56 rifle model M&P 15 (GN) TJ83283, a Glock .45 caliber pistol
model 30S (SN) BGHP090, a Glock .40 caliber pistol model 23 (SN) BKRZ726, and a
Glock 9mm pistol model G19 (SN) BKRK208 - in and affecting interstate and foreign

commerce, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

COUNT II
(Possession of a Machine Gun)

On or about May 9, 2019, in the District of Rhode Island, Defendant DAVID

POOLE, did knowingly possess a machinegun, that is, eight conversion switch parts

 

 
Case 1:19-cr-00131-WES-PAS Document 1 Filed 10/30/19 Page 2 of 2 PagelD #: 2

each capable of enabling a Glock pistol to fire as a fully automatic weapon, in violation

of 18 U.S.C. §§ 922(0) and 924(a)(2).
FORFEITURE ALLEGATION

Upon conviction of the offenses alleged in Counts I and II, Defendant shall forfeit
to the United States of America, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.
§ 2461(c), the firearms and conversion switches identified in those counts and any
associated ammunition, laser sights, extra or spare grips, gun boxes, gun locks, keys

and packaging, seized from 15 Grills Lane, Hopkinton, RI, on or about May 9, 2019.

AARON WEISMAN
United States Attorney

 

 

"RONALD R. - GENDRON
Assistant U.S. Attorney

LAV CA. of

WILLIAM J. FERLAND
Assistant U.S. Attorney
Chief, Criminal Division

Dated: {o; 7 j [¢

 
